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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

  TEXAS LEAGUE OF UNITED LATIN
  AMERICAN CITIZENS; NATIONAL
  LEAGUE OF UNITED LATIN AMERICAN
  CITIZENS; LEAGUE OF WOMEN
  VOTERS OF TEXAS; RALPH EDELBACH;
  BARBARA MASON; MEXICAN
  AMERICAN LEGISLATIVE CAUCUS,
  TEXAS HOUSE OF REPRESENTATIVES;
  and TEXAS LEGISLATIVE BLACK                            CIVIL ACTION NO. 1:20-cv-01006-RP
  CAUCUS;

                  Plaintiffs,

  v.

  GREG ABBOTT, in his official capacity as
  Governor of Texas; RUTH HUGHS, in her
  official capacity as Texas Secretary of State;
  DANA DEBEAUVOIR, in her official capacity
  as Travis County Clerk; CHRIS HOLLINS, in
  his official capacity as Harris County Clerk;
  JOHN W. OLDHAM, in his official capacity as
  Fort Bend County Elections Administrator;

                  Defendants.


                        SECRETARY HUGHS’S NOTICE OF APPEAL

        Pursuant to Federal Rules of Appellate Procedure 3(a)(1) and 4(a)(1)(A), Defendant Ruth

Hughs, in her official capacity as the Texas Secretary of State, gives this notice of appeal to the United

States Court of Appeals for the Fifth Circuit from the Order entered in this action on October 9,

2020. [ECF No. 61].
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Date: October 9, 2020                             Respectfully Submitted.

KEN PAXTON                                        /s/ Patrick K. Sweeten
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                                                  Associate Deputy for Special Litigation

                                                  TODD LAWRENCE DISHER
                                                  Deputy Chief for Special Litigation

                                                  WILLIAM T. THOMPSON
                                                  Special Counsel

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                                                  COUNSEL FOR THE GOVERNOR OF TEXAS




                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on October 9, 2020, and that all counsel of record were served by CM/ECF.

                                                 /s/ Patrick K. Sweeten______
                                                 PATRICK K. SWEETEN
                                                 Associate Deputy for Special Litigation
